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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                         Jointly Administered
                              Debtors.


            NOTICE OF WITNESS INFORMATION IN CONNECTION WITH
             MATTERS GOING FORWARD FOR MAY 19, 2021 HEARING

         On Sunday May 16, 2021, approximately 48 hours before the hearing on May 19, 2021 in

the above captioned matter, the Debtors intend to amend their plan of reorganization and

disclosure statement. Century and the other insurers have been excluded from the meetings and

discussions between the BSA and claimants over the formulation of a plan. The insurers have not

seen the Amended Plan that will be filed on Sunday and do not know what changes will be made

to the Plan. In light of the uncertainty over the terms of the new Plan that will be filed and the

changes to the Disclosure Statement, it is unclear what evidence will be necessary for the

hearing. Century respectfully reserves its right to offer into evidence at the hearing the testimony

of Paul Hinton, David McKnight, Robert Vanderbeek and the other declarants for whom it has

previously submitted declarations in support of its pleadings.




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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Dated: May 14, 2021            Respectfully Submitted,

                               By: /s/ Stamatios Stamoulis
                                   Stamatios Stamoulis

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                               to CCI Insurance Company, as successor to Insurance
                               Company of North America and Indemnity Insurance
                               Company of North America




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